               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr128-1


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )     ORDER
                                          )
                                          )
GLENDA ALBRIGHT ADAMS.                    )
                                          )

       THIS MATTER is before the Court on the Defendant’s motion for

reconsideration [Doc. 595].

I.     PROCEDURAL BACKGROUND

       On December 3, 2008, the Defendant was charged with conspiracy to

possess with intent to distribute cocaine base, in violation of 21 U.S.C. §§

841(a) and 846. [Doc. 2]. On February 25, 2009, the Defendant pled guilty

to the conspiracy offense in accordance with a written plea agreement in

which the parties stipulated that the Defendant was responsible for at least 50

grams but less than 150 grams of cocaine base. [Doc. 119].

       The Defendant’s preliminary Guidelines range of imprisonment, based

on a total offense level of 27 and a criminal history category of II, was

between 78 and 97 months.        However, the Defendant was subject to a




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mandatory minimum sentence of ten years’ imprisonment. See 21 U.S.C. §

841(b)(1)(A) (2009). Prior to sentencing, the Government filed a motion

seeking a downward departure pursuant to U.S.S.G. § 5K1.1 to reflect the

Defendant’s substantial assistance. [Doc. 246]. At sentencing, the Court

granted the Government’s motion, and the Defendant was sentenced to a

term of 97 months’ imprisonment, at the high end of the preliminary

Guidelines range. [Doc. 256].

        On June 3, 2012, the Defendant filed a motion through counsel for a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment

750 to the United States Sentencing Guidelines regarding crack cocaine

offenses. [Doc. 552]. On August 10, 2012, the Court entered an Order

denying the Defendant’s motion. [Doc. 581].

        On August 28, 2012, the Defendant filed the present Motion, seeking

reconsideration of the Court’s Order denying a reduction of her sentence.

[Doc. 595].

II.     DISCUSSION

        Section 3582(c)(2) of Title 18 provides that in the case of a defendant

who has been sentenced to a term of imprisonment “based on a sentencing

range that has subsequently been lowered by the Sentencing Commission,”



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the Court may reduce the term of imprisonment, “after considering the factors

set forth in [18 U.S.C.] § 3553(a) to the extent they are applicable” and if such

a reduction is consistent with the applicable policy statements issued by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2).

      In the present case, under U.S.S.G. § 2D1.1(c), as amended, the

Defendant’s total offense level was a level 25. Id. § 2D1.1(c) (2011). Based

on an amended total offense level of 25 and a criminal history category of II,

the preliminary Guidelines range of imprisonment is between 63 and 78

months. Even under the amended Guidelines, however, the Defendant’s

Guideline term was still 120 months, pursuant to U.S. Sentencing Guidelines

§ 5G1.1(b). In other words, the amended Guidelines did not impact the

applicability of the minimum sentence mandated by statute.             Because

Amendment 750 did not lower the statutory mandatory minimum term of

imprisonment applicable to the Defendant, she was not eligible for a reduced

sentence under § 3582(c)(2). United States v. Hood, 556 F.3d 226, 232-37

(4th Cir. 2009); United States v. Freeman, No. 4:06CR00016, 2012 WL

178354, at *6 (W.D. Va. Jan. 23, 2012), aff’d, 474 F. App’x 180 (4th Cir.

2012).




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     Because the Defendant is not eligible for a sentence reduction under

Amendment 750, the Court properly denied the Defendant’s motion for a

reduction of sentence.   The Defendant’s motion for reconsideration is

therefore denied.

     IT IS, THEREFORE, ORDERED            that Defendant’s      motion       for

reconsideration [Doc. 595] is DENIED.

     IT IS SO ORDERED.


                                        Signed: September 13, 2012




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